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MEMO ENDORSED                                                                  DATE FILED: 4/16/2018


 April 13, 2018


 Via ECF


 Hon. Valerie E. Caproni
 United States District Court
 Southern District of New York
 500 Pearl Street
 New York, NY 10007

          Re:      U.S. v. Percoco, et al. (Case No. 16-cr-00776-VEC)

 Dear Judge Caproni:

         We represent Defendant Alain Kaloyeros in the above-referenced matter. We write on
 behalf of the Defendants in the June trial (Alain Kaloyeros, Louis Ciminelli, Kevin Schuler,
 Michael Laipple, Steven Aiello, and Joseph Gerardi, collectively the “June Defendants”) to
 respectfully request that the Court extend the deadline for motions in limine from April 18, 2018
 to April 25, 2018, with responses remaining due on May 18, 2018. We have consulted with the
 Government and the Government consents to this requested extension. This is the second
 request to extend this deadline. The Government previously requested and the Court so-ordered
 the current schedule on March 12, 2018. See ECF No. 525.

        The June Defendants also respectfully request that the Court consider holding the
 upcoming trial in a larger courtroom. As the Court is aware, the June trial includes two
 additional defense teams and will likely attract significant numbers of spectators and members of
 the media. Given the “tight fit” of the January trial, we believe a larger courtroom would make
 for a more efficient trial and avoid delays caused by logistical issues. It might also eliminate the
 need for an overflow room and disputes over seating for spectators. We would be pleased to
 work with the Court’s facilities team and District Executive’s office to facilitate this request.
 The Government takes no position on this request.
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Hon. Valerie E. Caproni
April 13, 2018
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       We thank the Court for its attention to this matter and are pleased to provide any
additional information that the Court may need.

                                             Respectfully submitted,




                                             Michael C. Miller

cc:    All Counsel (via ECF)


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SO ORDERED.




HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE

4/16/2018
